Case 1:14-ml-02570-RLY-TAB Document 22447 Filed 07/28/22 Page 1 of 2 PageID #:
                                 132627



                          IN THE UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF INDIANA
                                  INDIANAPOLIS DIVISION

 _________________________________________

IN RE: COOK MEDICAL, INC., IVC FILTERS
MARKETING, SALES PRACTICES AND                                 Case No. 1:14-ml-2570-RLY-TAB
PRODUCTS LIABILITY LITIGATION                                                    MDL No. 2570
 _________________________________________

 This Document Relates to:
 Mary R. Berard, Case No. 1:18-cv-02462 -RLY-TAB
____________________________________________

   ORDER ON JULY 18, 2022, TELEPHONIC STATUS CONFERENCE AND ORDER
              SETTING TELEPHONIC STATUS CONFERENCE

       Plaintiff appeared by counsel July 18, 2022, for a telephonic status conference address

Plaintiff's counsel's motion to withdraw. [Filing Nos. 22037 and 22046.] Plaintiff failed to appear

as ordered. [Filing No. 22053.] This matter is set for a telephonic status conference at 4 p.m.

(Eastern Time) on August 25, 2022, to address Plaintiff's failure to appear and to have Plaintiff

show cause, if any, why this action should not be dismissed for her failure to appear and for her

failure to respond to her counsel's multiple attempts to communicate with her since October 2021.

Plaintiff is notified that the magistrate judge will recommend dismissal of this action if she fails to

appear as ordered. The conference will be ex parte and neither Defendants' representative or

counsel should attend. Plaintiff shall appear by counsel. The information needed by counsel of

record to participate in this telephonic conference will be provided by separate notification.

Plaintiff, Mary R. Berard shall personally participate in this conference by calling Chambers

at 317.229.3660.

        Date: 7/28/2022
                                                _______________________________
                                                 Tim A. Baker
                                                 United States Magistrate Judge
                                                 Southern District of Indiana
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Distribution to all registered counsel of record via the Court’s ECF system.
Fred Thompson, III and Donald A. Migliori are required to serve Plaintiff, Mary R. Berard.




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